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                                                                     United States Bankruptcy Court
                                                                          Southern District of Texas

                                                                             ENTERED
                 IN THE UNITED STATES BANKRUPTCY COURT                       April 12, 2022
                   FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                            HOUSTON DIVISION

                                             )
In re:                                       )   Chapter 11
                                             )
ION GEOPHYSICAL CORPORATION,                 )   Case No. 22-30987 (MI)
                                             )
                          Debtor.            )
                                             )
Tax I.D. No. XX-XXXXXXX                      )
                                             )
In re:                                       )   Chapter 11
                                             )
GX TECHNOLOGY CORPORATION                    )   Case No. 22-90030 (MI)
                                             )
                          Debtor.            )
                                             )
Tax I.D. No. XX-XXXXXXX                      )
                                             )
In re:                                       )   Chapter 11
                                             )
I/O MARINE SYSTEMS INC.                      )   Case No. 22-90029 (MI)
                                             )
                          Debtor.            )
                                             )
Tax I.D. No. XX-XXXXXXX                      )
                                             )
In re:                                       )   Chapter 11
                                             )
ION EXPLORATION PRODUCTS (U.S.A.), INC.      )   Case No. 22-90031 (MI)
                                             )
                          Debtor.            )
                                             )
Tax I.D. No. XX-XXXXXXX                      )
                                             )

              ORDER (I) DIRECTING JOINT ADMINISTRATION OF
         THE CHAPTER 11 CASES, AND (II) GRANTING RELATED RELIEF
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           Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only, and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and that this Court may enter

a final order consistent with Article III of the United States Constitution; and the Court having

determined that ex parte relief is appropriate, it is ordered that:

     1.     The above-captioned chapter 11 cases will be jointly administered by the Court under Case
     No. 22-30987. Case 22-90030 is reassigned to Judge Isgur.

    2.       Additionally, the following checked items are ordered:

             a.       One disclosure statement and plan of reorganization may be filed for all
                     cases by any plan proponent.




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                           2
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                      b.      Parties may request joint hearings on matters pending in any of the
                             jointly administered cases.

                      c.      Other: See below.

             3.       The caption of the jointly administered cases shall read as follows:



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                              )
    In re:                                                    ) Chapter 11
                                                              )
    ION GEOPHYSICAL CORPORATION, et al.,1                     ) Case No. 22-30987 (MI)
                                                              )
                                      Debtors.                ) (Jointly Administered)
                                                              )

             4.       The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

             5.       A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors, and any related Debtor affiliates that subsequently commence chapter 11

cases, other than ION Geophysical Corporation, to reflect the joint administration of these chapter

11 cases:

             An order has been entered in accordance with Rule 1015(b) of the Federal Rules of
             Bankruptcy Procedure and Rule 1015-1 of the Bankruptcy Local Rules for the
             United States Bankruptcy Court for the Southern District of Texas directing joint
             administration for procedural purposes only of the chapter 11 cases of: ION
             Geophysical Corporation, Case No. 22-30987; GX Technology Corporation, Case
             No. 22-90030; I/O Marine Systems Inc., Case No. 22-90029; and ION Exploration
             Products (U.S.A.), Inc., Case No. 22-90031. The docket in Case No. 22- 30987
             (MI) should be consulted for all matters affecting this case. All further pleadings


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.


                                                        3
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          and other papers shall be filed in and all further docket entries shall be made
          in Case No. 22-30987 (MI).

          6.     There will be one consolidated docket, and one consolidated service list for these
          chapter 11 cases.

         7.       Any party in interest may request joint hearings on matters pending in any of these
  chapter 11 cases.
         8.       Nothing contained in the Motion or this Order shall be deemed or construed as

  directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

  Order is without prejudice to the rights of any party-in-interest to seek entry of an order

  substantively consolidating these cases.
          9.      Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

  this Order are immediately effective and enforceable upon its entry.
        10.       The Debtors are authorized to take all actions necessary to effectuate the relief
granted in this Order.
        11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


  Signed: April 12,17,
          October   2022
                       2018

                                                        ____________________________________
                                                                      Marvin Isgur
                                                            United States Bankruptcy Judge




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